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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA                                   JS-6
                                    CIVIL MINUTES – GENERAL

 Case No.       SACV 20-01599-CJC (ADSx)                            Date     November 17, 2020
 Title          Kenneth Davidson v. H and S Energy, LLC et al



 Present: The Honorable         CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE
                   Cheryl Wynn                                          Not Reported
                   Deputy Clerk                                        Court Reporter
           Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                    None Present                                       None Present


 PROCEEDINGS:             (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE OF
                          VOLUNTARY DISMISSAL


       The Court is in receipt of Plaintiff’s Notice of Voluntary Dismissal of this entire action
[15], and hereby orders the case dismissed with prejudice. Further, the Court orders all
proceedings in the case vacated and taken off calendar.




                                                                                  -      :        -
                                                  Initials of Deputy Clerk   cw




CV-90 (06/04)                             CIVIL MINUTES - GENERAL                            Page 1 of 1
